 ON APPLICATION FOR REHEARING
Upon original consideration of this appeal, we reversed the trial court's judgment and remanded the cause. The application for rehearing is granted and, upon reconsideration, the judgment is affirmed. The original opinion, dated June 12, 1989, is withdrawn and the following opinion is substituted therefor.
Dr. Albert D. Pacifico appeals from a judgment based upon a jury verdict in favor of Dr. John M. Jackson in a medical malpractice action.
 I. Statement of the Case and the Facts
In January 1981, Dr. Jackson underwent open heart by-pass surgery performed by Dr. Pacifico. As a prelude to the surgery, a monitoring device was inserted into Dr. Jackson's radial artery just above the wrist. To prevent possible dislodgment during surgery, the device was attached to Dr. Jackson's wrist with stitches. Upon awakening from surgery, Dr. Jackson complained of pain and numbness in three fingers on his right hand. In December 1982, Dr. Jackson filed suit against Dr. Pacifico. Dr. Jackson alleged that when Dr. Pacifico stitched the monitoring device to his wrist he permanently damaged the median nerve, resulting in pain in the right forearm and right shoulder and numbness in the right hand. Specifically, Dr. Jackson avers that, as a direct consequence of Dr. Pacifico's alleged negligence, he has suffered a major limitation in his ability to work as a general surgeon.
The case went to trial on December 1, 1987, and, on December 8, 1987, the jury returned a verdict in Dr. Jackson's favor, assessing damages in the amount of $1,650,000. The trial court entered judgment on the verdict. Dr. Pacifico filed a timely motion for new trial, or, in the alternative, for J.N.O.V.; and on February 24, 1988, he also filed a motion for relief from judgment pursuant to Rule 60(b), A.R.Civ.P. After a hearing, each of these motions was denied and this appeal followed.
The crux of Jackson's case was his assertion that Dr. Pacifico permanently damaged the median nerve in his right hand and that, as a proximate result, he suffered physical disability and mental anguish and his income was diminished. At trial and throughout the discovery phase of the case, Dr. Jackson maintained that, after the injury to his right hand, he had experienced difficulty in controlling certain surgical instruments and performing the finer, more meticulous surgical techniques. *Page 176 
During the course of the trial, a number of expert witnesses testified on Dr. Jackson's behalf. The substance of their expert opinions was to the effect that Dr. Jackson had suffered a permanent injury to the median nerve in his right hand due to a negligent performance of the surgical procedure by Dr. Pacifico.
Dr. Pacifico contended that Dr. Jackson's injury to his right hand was either the result of a fall in an elevator in 1978, in which he suffered a spinal cord injury, or the result of a stretch injury to the brachial plexus. Dr. John Gould (Dr. Pacifico's witness), an orthopedic surgeon who had studied the hospital charts, testified that a cervical spine injury could affect one or both hands and would not necessarily be equal.
With regard to Dr. Jackson's loss-of-income assertions, Grady C. Hartzog, a certified public accountant, testified that after reviewing the business records of Dr. Jackson, both the records before and those after the injury, he discerned a loss of income in excess of $1,000,000 from 1981 through 1986.
 II. Issues Presented
The issues presented on appeal fall into two categories: 1) Allegations of trial errors; and 2) allegations of post-trial errors. Before addressing the separate issues, we note that none of the Justices would find error with respect to any of the issues relating to allegations of trial errors; but the Justices are sharply divided with respect to the allegations of post-trial errors — namely, the trial court's denial of the defendant's motion for a new trial based on the "newly discovered evidence" ground and the trial court's denial of the defendant's Rule 60(b) motion based on the "fraud on the court" ground. (The dissenting Justices express no opinion on the issue of "excessive damages," because, under their view of the case, they would not reach that issue.)
It is also noteworthy that the 5-4 division of the Court does not revolve around the correctness of the applicable principles of law, as set forth in this opinion; rather, it centers upon the application of those principles to the particular facts of this case. The majority is of the view that the facts fall short of crossing that line that separates "deference to the trial court's ruling" from the trial court's "abuse of discretion." The minority, on the other hand, strongly believes that, if the applicable legal principles contemplate any set of facts that may cross that line, those facts are present in this case.
Therefore, because our disagreement is focused upon what we perceive as a narrow policy call issue, we further perceive no useful purpose to be served by setting forth a lengthy analysis of the evidence of record.
 III. Trial Error Issues
First, Dr. Pacifico urges that the count should have directed a verdict in his favor, because, he says, the plaintiff failed to prove that some act of Dr. Pacifico caused the injury. We disagree.
 "A directed verdict is proper only where there is a complete absence of proof on an issue material to the claim or where there are no disputed questions of fact on which reasonable people could differ. Deal v. Johnson, 362 So.2d 214
(Ala. 1978). In considering a motion for directed verdict, the court must apply Rule 50(e), ARCP, under which 'a question must go to the jury, if the evidence, or any reasonable inference arising therefrom, furnishes [so much as] a mere gleam, glimmer, spark, . . . or a scintilla in support of the theory of the complaint. . . .' Dixie Electric Company v. Maggio, 294 Ala. 411, 318 So.2d 274
(Ala. 1975)."
Caterpillar Tractor Co. v. Ford, 406 So.2d 854, 856 (Ala. 1981).1 *Page 177 
We recognize that "[i]n a medical malpractice case, in order to find liability there must be more than a mere possibility that the alleged negligence caused the injury." Howard v.Mitchell, 492 So.2d 1018, 1019 (Ala. 1986); and see Williams v.Bhoopathi, 474 So.2d 690 (Ala. 1985).
The testimony of Dr. Jackson's experts tended to show that the injury was caused by Dr. Pacifico's negligence in placing the sutures. The testimony of Dr. Pacifico's experts tended to contradict this. A jury issue was presented; a jury verdict was rendered; and the trial court entered judgment accordingly and subsequently overruled post-judgment motions. See Hill Air ofGadsden, Inc. v. Marshall, 526 So.2d 15 (Ala. 1988).
Dr. Pacifico further contends that the trial court erred in failing to give requested written instructions on the issue of causation in medical malpractice cases. The trial court gave Alabama Pattern Jury Instruction (Civil) No. 33.00 on proximate cause as a part of its oral charge.
The language of that instruction states the standard by which a court is to judge whether summary judgment or a directed verdict is proper for the defendant; whether it is a question of law for the trial court. If the court determines that it is not, then the question for the jury is whether it is reasonably satisfied 1) that the defendant was negligent and, if so, then 2) that injuries complained of are the proximate result of the defendant's negligence. Because the trial court's original charge was adequate on this point, it did not err in refusing to give the requested charges. Bateh v. Brown, 293 Ala. 704,310 So.2d 186 (1975); and see Rule 51, A.R.Civ.P.
Dr. Pacifico also contends that counsel for Dr. Jackson improperly commented on the failure of Dr. Pacifico to call certain witnesses:
 "Now, in using your common sense about things, does this make any sense to you that on 8th Avenue and 20th Street we've got a medical school and no telling how many neurologists are there that can measure nerves and do EMG tests. Have you heard the voice of a single one? "
Reference to a particular witness's failure to testify is improper if the witness is equally available to both parties.Black Belt Wood Co. v. Sessions, 514 So.2d 1249 (Ala. 1986);Harrison v. Woodley Square Apartments, 421 So.2d 101
(Ala. 1982); C. Gamble, McElroy's Alabama Evidence, § 191.01(a) (3d ed. 1977). The comment objected to does not refer to the defendant's failure to call a particular witness, but rather to his failure to produce a particular kind of witness. In that sense, and when read in the context of the entire closing argument, it is clear that the comment was directed to the failure of the defendant to counter the testimony of Dr. Jackson's neurologists, or, in other words, the comment was designed to point out the defendant's failure to support his contentions. Therefore, we find no error.
 IV. Post-trial Errors
We now address Dr. Pacifico's "newly discovered evidence" ground for his new trial motion. To fall within the definition of "newly discovered evidence," the evidence must have been in existence on the date of trial. See 6A J. Moore, FederalPractice § 59.08[3](1982). Therefore, only those facts in existence at the time of trial are pertinent for our review ofpossible "newly discovered evidence."
This Court has previously written:
 " 'The propriety of granting [a new trial] motion on the ground of newly discovered evidence must, in this state, be tested by the following settled rules:
 " '(1) The evidence must be such as will probably change the result if a new trial is granted;
 " '(2) The evidence must have been discovered since the trial;
 " '(3) The evidence could not have been discovered before the trial by the exercise of due diligence;
" '(4) It must be material to the issue; [and]
 " '(5) It must not be merely cumulative, or impeaching. McCormack Bros. *Page 178  Motor Car Co. v. Arnold, 223 Ala. 504, 137 So. 288; Fries v. Acme White Lead Color Works, 201 Ala. 613, 79 So. 45; Birmingham Electric Co. v. Linn, 33 Ala. App. 486, 34 So.2d 715.' "
Shepherd v. Southern Ry., 288 Ala. 50, 59-60, 256 So.2d 883,891 (Ala. 1970) (quoting from Forest Inv. Corp. v. CommercialCredit Corp., 271 Ala. 8, 12, 122 So.2d 131 (1960). See, also,Talley v. Kellogg Co., 546 So.2d 385 (Ala. 1989).
At the hearing of the motion, the trial judge asked Dr. Pacifico's lawyers the following questions and received the following answers regarding the subpoena:
 "THE COURT: All right. Well, let me ask you a question, because I want it to appear on the record, that I think this is correct, and I want you to either confirm it for me one way or the other. I don't recall at any point in time that an instanter subpoena for these records was filed after they didn't produce it.
"MR. WILLIAMS: That's correct.
 "THE COURT: Or no request made of the Court to either issue an instanter subpoena nor no request of the Court to attach any witness?
"MR. WILLIAMS: That's correct.
 "THE COURT: That's the way I remember it, anyway.
"MR. WILLIAMS: There was no such request.
"THE COURT: All right.
 "MR. WILLIAMS: As a matter of fact, Judge, there was no return at all during the course of the trial. It was not until after the trial was over that this handwritten sheet appears at the clerk's office showing it was executed, but that's the way it was.
 "THE COURT: Now, at least you knew, though, that you didn't have the records that you'd asked for?
 "MR. WILLIAMS: We knew they were not up here. And, of course, we also knew that we had sworn testimony from Dr. Jackson that he wasn't doing major procedures. So, we didn't really feel it was necessary to show how many minor procedures he was doing. He admitted to doing minor procedures." (Emphasis added.)
Dr. Pacifico, without question, in the exercise of due diligence, could have discovered before trial the same evidence he obtained after trial. In short, it was incumbent upon Dr.Pacifico to make sure that the documents he requested via thesubpoena be produced before trial.
An order granting or denying a motion for new trial on the basis of newly discovered evidence will not be disturbed on appeal unless it appears that the trial court abused its discretion. Gilmer v. Salter, 285 Ala. 671, 235 So.2d 813
(1970). "Applications for such relief are looked on with distrust and disfavor, and must be granted with caution; and the newly discovered evidence is regarded with suspicion." 66 C.J.S. New Trial § 101 (1950). After a careful review of the record, and our application of the above-stated rules of review, we cannot agree that the trial court's denial of a new trial on the "newly discovered evidence" ground was an abuse of discretion.
Dr. Pacifico next contends that the judgment should have been vacated pursuant to Rule 60(b). Dr. Pacifico neglects to state which subpart of Rule 60(b) serves as the primary basis of his motion, but his briefs on appeal appear to point toward Rule 60(b)(3). Within the body of his Rule 60(b) motion, however, Dr. Pacifico uses the phrase "fraud on the court."
At any rate, we find it unnecessary, for the purposes of this appeal, to discuss the distinction between fraud chargeable under Rule 60(b)(3) and fraud under Rule 60(b)(6). Here, because the facts alleged in the motion do not meet the legal definition of "fraud on the court," the motion, which was timely filed for reason of fraud, necessarily falls within the perimeters of Rule 60(b)(3). For a discussion of the longstanding rule governing post-trial allegations of fraud, see United States v. Throckmorton, 98 U.S. 61, 68-69,25 L.Ed. 93 (1878); and Hazel-Atlas Glass Co. v. Hartford-Empire Co.,322 U.S. 238, 64 S.Ct. 997, 88 L.Ed. 1250 (1944). *Page 179 
We find Professor Moore's observations pertinent:
 "In the Hazel-Atlas case, Justice Black did not attempt to classify the fraud as extrinsic or intrinsic. And, if a motion for relief is made that is within the time for relief applicable to Rule 60(b)(3), a classification of the fraud is normally not necessary, for this clause authorizes relief on the basis of fraud in broad terms. But if the motion cannot be granted under 60(b)(3) because not timely, then it will be necessary to determine whether the fraud is a fraud upon the court."
7 Moore's Federal Practice, ¶ 60.33 at 356 (2d ed. 1987). For further discussion of the distinction between Rule 60(b)(3) fraud and Rule 60(b)(6) fraud, see Lockwood v. Bowles,46 F.R.D. 625 (D.D.C. 1969) (quoting 7 Moore's Federal Practice ¶ 60.33 at 360-62 (2d ed. 1987). See, also, Gleason v. Jandrucko,860 F.2d 556 (2d Cir. 1988), affirmed in part and reversed in part sub nom. Gleason v. McBride, 869 F.2d 688 (2d Cir. 1989); and Travelers Indemnity Co. v. Gore, 761 F.2d 1549 (11th Cir. 1985).
On the broader public policy issue of reviewing post-trial claims of fraud, the United States Supreme Court, inThrockmorton, supra, 98 U.S. at 68-69, had this to say:
 "The mischief of retrying every case in which the decree was rendered on false testimony by perjured witnesses, or on documents whose genuineness was in issue and which are afterward ascertained to be forged or fraudulent, would be greater, by reason of the endless nature of the strife, than any compensation arising from doing justice in individual cases."
First National Life Ins. Co. v. Bell, 174 La. 692, 699,141 So. 379, 381 (1932), is of interest in this connection:
 "If a judgment could be annulled on the showing made by plaintiff, litigation would be endless. Another judgment in favor of [defendant] could be annulled on allegations of newly discovered evidence, and so on to the end of time. If an unsuccessful litigant were permitted to attack a judgment as fraudulent on the ground that his opponent failed to disclose certain facts within his knowledge, which by the exercise of reasonable diligence the unsuccessful litigant could have ascertained for himself, there would be no finality to a judgment. In legal effect, it would be nothing more than an order to show cause why it should not be set aside."
The same principle is stated, in different language, in the case of Porcelli v. Schlitz Brewing Co., 78 F.R.D. 499, 501
(E.D.Wisc. 1978), as follows: "[Movant] must . . . satisfy the Court that he has substantial evidence of fraud which was not obtainable by due diligence prior to the time of entry of the order."
One who contends that an adverse party has obtained a verdict through fraud, misrepresentation, or other misconduct (Rule 60(b)(3)) must prove by "clear and convincing evidence (1) that the adverse party engaged in fraud or other misconduct and (2) that this misconduct prevented the moving party from fully and fairly presenting his case. [Citation omitted.] The resolution of these two issues is within the trial court's discretion, and on review, our only inquiry is whether the trial court abused its discretion." Montgomery v. Hall, 592 F.2d 278, 279 (5th Cir. 1979). See, also, Penn v. Irby, 496 So.2d 751 (Ala. 1986).
Here, the trial judge heard the testimony, observed the witnesses firsthand, and thus had an intimate feeling of the case, which no appellate transcript can impart. Therefore, it is our considered opinion that substantial deference to the discretion of the trial judge's appraisal of the evidence, including the evidence introduced at the Rule 60(b) hearing, is particularly appropriate in this case.
Finally, Dr. Pacifico contends that the verdict was excessive. The trial court, in accordance with Hammond v. Cityof Gadsden, 493 So.2d 1374 (Ala. 1986), entered the following findings on this point:
 "One of the grounds assigned by the defendant for a new trial is the alleged excessiveness of the jury's verdict. Consequently, it is this court's understanding that the mandate of Hammond *Page 180  v. City of Gadsden, 493 So.2d [at] 1375, requires the trial court to address that issue.
 "Let it be said at the outset that the court finds that this was an 'average jury,' composed of capable, conscientious, honest, and intelligent men and women, who undertook to perform their sworn duty as jurors. There is no evidence to the contrary. There is no legal evidence of any misconduct on the part of any juror nor of any attorney in this case. In the opinion of the court, the parties received a fair and impartial trial.
 "The plaintiff, Dr. John M. Jackson, was born in 1926 and was a practicing general surgeon in Eufaula, Alabama. The defendant, Dr. Albert Pacifico, was and is, an excellent and renowned heart surgeon with outstanding professional credentials.
 "The defendant performed open heart surgery on the plaintiff on January 13, 1981. Prior to the heart surgery, but preparatory to it, the defendant performed a medical or surgical procedure on the right wrist of the plaintiff. The plaintiff claimed that the procedure done on his right wrist (he is right-handed) was negligently done and proximately caused injury to the median nerve resulting in numbness, loss of strength, etc., to certain fingers and thumb to the plaintiff's right hand.
 "After the open heart surgery, plaintiff resumed his practice of general surgery about March 1981 until about December of 1981. This was done with various degrees of difficulty. From about January 1982 until November 30, 1987 (trial date), the plaintiff testified he did minor surgery as opposed to major surgery.
 "There was evidence for the jury's consideration that the plaintiff had a loss of annual earnings of about $150,000.00 a year from 1981 through 1987. The evidence from Grady Hartzog, Jr., the plaintiff's C.P.A., indicated the plaintiff lost earnings of about $1,000,000.00 from 1981 through 1986.
 "The jury had evidence of substantial loss of past earnings, physical pain, mental anguish and loss of earning capacity sustained by the plaintiff. There was also evidence that no medical or surgical intervention would alter the plaintiff's problem with his right hand. The jury rendered its verdict and the court has no evidence that the jury reached the verdict because of bias, passion, prejudice, corruption or other improper motives.
 "It has often been said in many opinions of our Supreme Court that the trial court may not substitute its own judgment for that of the jury in determining whether a verdict is excessive and grant a remittitur. Though this verdict is large, this Court cannot say it is excessive without substituting the judgment of the court for that of the jury.
 "Under the facts and circumstances of this case, this Court cannot find that the jury's verdict is excessive as a matter of law. This the trial court must be able to do before granting a remittitur."
After a careful review of the record, including all pretrial discovery, the trial proceedings, and the post-trial proceedings, we find no error requiring reversal.
APPLICATION GRANTED; ORIGINAL OPINION WITHDRAWN; OPINION SUBSTITUTED; AFFIRMED.
HORNSBY, C.J., ADAMS and KENNEDY, JJ., and WRIGHT, Special Justice (sitting by special assignment), concur.
MADDOX, ALMON, SHORES and STEAGALL, JJ., dissent.
HOUSTON, J., recused.
1 Because this case was filed before June 11, 1987, the "scintilla rule" is applicable. See Code 1975, § 12-21-12.